
The COURT.
—This proceeding is akin to Ex parte Ciarle, ante, p. 235, this day decided; but the alleged contempt of this petitioner, Mrs. Rickert, consisted in instructing Clarke not to produce in court certain books which he had been ordered *245to produce, and in doing certain other acts to prevent the production of said hooks. These acts were not done by the petitioner “in the immediate view and presence of the court, or judge at chambers,” and the warrant of commitment was not preceded by an affidavit showing the facts constituting the contempt, or by a citation or notice to show cause, as required by sections 1311 and 1313 of the Code of Civil Procedure. For this reason the petitioner must be discharged from custody —independent of the views upon which Clarke himself was discharged.
The petitioner is discharged from the custody of the sheriff.
